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                                   IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEW MEXICO


DANIEL VALDEZ, DARRELL C. HOWIESON,
CHAD KLUG, THOMAS J. LOHR,
CHRIS E. LUNDVALL, DANIEL MILLER,
ZANE WARD, and BENJAMIN ZERBY, on behalf
of themselves and all others similarly situated,

                       Plaintiffs,

v.                                                           Case No. 17-CV-535 JB-CG

BOARD OF COUNTY COMMISSIONERS
OF SANDOVAL COUNTY,

                       Defendant.

                              STIPULATION OF DISMISSAL WITH PREJUDICE
                                  OF ALL CLAIMS AGAINST DEFENDANT

           Plaintiffs, by and through their undersigned attorneys, and Defendant, by and through its

undersigned attorneys, pursuant to Federal Rule of Civil Procedure 41, hereby stipulate to the

dismissal of all claims against Defendant Board of County Commissioners of Sandoval County,

with prejudice. All parties are to bear their own costs.


                                                             BUTT THORNTON & BAEHR PC

                                                             /s/ Agnes Fuentevilla Padilla
                                                             Agnes Fuentevilla Padilla
                                                             Attorneys for Defendant
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                                                             Albuquerque, NM 87190
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APPROVED:


/s/ James Montalbano
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